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                                  Nebraska Supreme Court A dvance Sheets
                                          301 Nebraska R eports
                                                      STATE v. McCOLERY
                                                       Cite as 301 Neb. 516



                          State         of   Nebraska,     appellee, v.
                                                                   Scott McColery,
                                             appellee, andBrett McA rthur,
                                                  Intervenor-appellant.
                                                         ___ N.W.2d ___

                                             Filed November 9, 2018.   No. S-17-1121.

                1.	 Statutes: Appeal and Error. Statutory interpretation is a matter of law,
                     in connection with which an appellate court has an obligation to reach
                     an independent, correct conclusion irrespective of the determination
                     made by the court below.
                2.	 Statutes: Legislature: Intent. The fundamental objective of statutory
                     interpretation is to ascertain and carry out the Legislature’s intent.
                3.	 Statutes: Appeal and Error. Statutory language is to be given its plain
                     and ordinary meaning, and an appellate court will not resort to inter-
                     pretation to ascertain the meaning of words which are plain, direct, and
                     unambiguous.
                4.	 Statutes. A statute is ambiguous if it is susceptible of more than one
                     reasonable interpretation, meaning that a court could reasonably inter-
                     pret the statute either way.
                5.	 ____. It is impermissible to follow a literal reading that engenders
                     absurd consequences where there is an alternative interpretation that
                     reasonably effects a statute’s purpose.
                 6.	 ____. A court must attempt to give effect to all parts of a statute, and if
                     it can be avoided, no word, clause, or sentence will be rejected as super-
                     fluous or meaningless.
                7.	 Divorce: Alimony: Child Support: Liens: Property: Legislature. The
                     Legislature did not provide through Neb. Rev. Stat. § 42-371 (Reissue
                     2016) for a lien on all personal property, tangible and intangible;
                     instead, it expressly limited the lien to “registered personal property.”
                8.	 Judgments: Liens: Statutes. Judgment liens are creatures of statute.
                9.	 Liens: Statutes. When a lien comes into existence by force of a statute,
                     it must be measured by the statute, and can have no greater force than
                     the statute gives it.
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                             STATE v. McCOLERY
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10.	 Statutes. Statutes in derogation of common law are to be strictly
     construed.
11.	 Property. Money is intangible property; it is not tied up in a fixed state.
12.	 Bailment: Divorce: Alimony: Child Support: Property. Under the
     current statutory scheme for bail, Neb. Rev. Stat. §§ 29-901 through
     29-910 (Reissue 2016), money deposited as recognizance with the clerk
     of the court is not personal property registered with a county office
     under Neb. Rev. Stat. § 42-371 (Reissue 2016).
13.	 Statutes. With respect to questions about a statute, a court’s role is
     limited to interpretation and application of statutes, irrespective of the
     court’s personal agreement or disagreement with a particular legislative
     enactment, so long as a questioned statute does not violate a constitu-
     tional requirement.
14.	 ____. Whether a court considers particular legislation as wise or unwise
     is irrelevant to the judicial task of construing or applying a statute.

   Appeal from the District Court for Lancaster County:
A ndrew R. Jacobsen, Judge. Reversed and remanded with
directions.
   Brett McArthur, pro se.
   Joe Kelly, Lancaster County Attorney, and Braden W. Storer
for appellee State of Nebraska.
  Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
Papik, and Freudenberg, JJ.
   Freudenberg, J.
                     NATURE OF CASE
   This is an appeal by the debtor’s former attorney from an
order in garnishment enforcing a statutory lien by the State
for past-due child support, against an appearance bond deposit
held by the clerk of the court in a criminal case unrelated to
the child support order. During the pendency of the criminal
matter, the debtor had assigned to his attorney his contingent
right to a return of the bond deposit, as part of the debt-
or’s payment for the attorney’s services. During the garnish-
ment proceedings, the attorney asserted that appearance bond
funds are not personal property “registered” with a “county
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                   301 Nebraska R eports
                        STATE v. McCOLERY
                         Cite as 301 Neb. 516
office,” as required for a lien under Neb. Rev. Stat. § 42-371(Reissue 2016). The district court disagreed and found that
the State had a lien under § 42-371. We reverse, and remand
with directions.
                         BACKGROUND
   In 1994, the State obtained a judgment against Scott
McColery for child support. By 2000, McColery was approxi-
mately $12,000 in arrears on his child support payments. In
September 2015, McColery was charged in the county court for
Lancaster County with strangulation. By that time, McColery
was approximately $18,000 in arrears in his child support
payments.
   On October 5, 2015, pending trial, McColery deposited with
the county court $5,000 in relation to a $50,000 appearance
bond. The bond was to remain in force until the final judg-
ment. Ninety percent of the bond deposit was to be returned to
McColery upon appearance, and 10 percent would be retained
by the county court clerk for bond costs.
   Although McColery was originally represented by a public
defender, he later obtained Brett McArthur to represent him. As
part of McArthur’s compensation, McColery assigned the bond
funds to McArthur. The assignment was made on October 29,
2015, and was filed with the county court the next day.
   Following McColery’s conviction, on November 18, 2015,
the State filed in the county court an affidavit of lien for child
support. The State averred that McColery owed more than
$18,000 in past-due child support. The State explained in its
affidavit that it had reason to believe that the county court had
McColery’s property in its possession, in the form of a bond.
The parties do not dispute that McColery appeared in court as
ordered, and his bond was not forfeited.
                   R elease of Funds Motion
   On June 30, 2016, McArthur filed a motion with the
district court for Lancaster County to issue an order releas-
ing the bond funds to him. The district court overruled the
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                        301 Nebraska R eports
                             STATE v. McCOLERY
                              Cite as 301 Neb. 516
motion without making specific findings of fact. McArthur
appealed.
   In State v. McColery,1 we held that we lacked jurisdic-
tion over the appeal, because the court’s order overruling the
motion to release the bond funds was not final.2 We explained
that the order was not a final determination of the rights of the
parties, because it did not indicate that McArthur was not enti-
tled to the funds or that the State was entitled to the funds. We
noted that the State had not yet initiated garnishment proceed-
ings. We explained further that if it did so, McArthur would
be able to intervene pursuant to Neb. Rev. Stat. § 25-1030.03(Reissue 2016).
                   Garnishment Proceedings
   On July 10, 2017, the State filed with the district court an
affidavit for garnishee summons after judgment. The State set
forth in the affidavit that the district court had McColery’s
property, which the State sought to garnish to partially satisfy
past-due child support in the amount of $17,923.46. The sum-
mons and order of garnishment in aid of execution was issued
the following day.
   The clerk of the district court did not object and responded
to the attached interrogatories, stating that it had property
belonging to McColery. Specifically, the clerk of the district
court described the property as “Bond Money at CR-15-1358,”
in the amount of $4,500. But, under “[d]ate the money or
credits were due, or will be due,” the clerk explained “Upon
Order - Bond Assigned to Attorney 10-30-15.”
   McColery requested a hearing and alleged that the funds
asked for were exempt from garnishment. McArthur intervened
and filed a motion to quash garnishment on the ground that the
$4,500 in the district court’s possession had been assigned to
McArthur before the garnishment action.

 1	
      See State v. McColery, 297 Neb. 53, 898 N.W.2d 349 (2017).
 2	
      See Neb. Rev. Stat. § 25-1902 (Reissue 2016).
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                        301 Nebraska R eports
                              STATE v. McCOLERY
                               Cite as 301 Neb. 516
   The court held a hearing on the motion to quash. The State
argued that the child support judgment against McColery oper-
ated as an automatic lien against the funds from the moment
they were deposited into the county court, because they con-
stituted “personal property registered with [a] county office.”3
McArthur argued that depositing a bond is not “registering” it
and, further, that the county court is not a “county office.”
   The court overruled McArthur’s motion to quash and ordered
that the bond funds being held by the court be remitted to the
Nebraska Child Support Payment Center and credited against
McColery’s child support arrears. McArthur appeals.
                ASSIGNMENT OF ERROR
   McArthur assigns that the district court erred in overruling
his motion to quash garnishment and in ordering the payment
of funds held by the court toward McColery’s child support
payments.
                   STANDARD OF REVIEW
   [1] Statutory interpretation is a matter of law, in connection
with which an appellate court has an obligation to reach an
independent, correct conclusion irrespective of the determina-
tion made by the court below.4
                          ANALYSIS
   The sole issue raised by McArthur in this appeal is whether
appearance bond funds held by the clerk of the court are “per-
sonal property registered with any county office,” as stated
in § 42-371. McArthur argues that the county court is not an
“office” and that the deposit of an appearance bond is not
“register[ing]” that property with the court. McArthur has not
disputed that if the bond funds were personal property “reg-
istered” with a “county office,” then the statutory lien was
automatically perfected upon deposit and garnishment was

 3	
      § 42-371(1).
 4	
      In re Interest of Lisa O., 248 Neb. 865, 540 N.W.2d 109 (1995).
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                             STATE v. McCOLERY
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proper. The clerk of the court did not claim immunity from
garnishment proceedings.5 We limit our opinion to the issues
presented.6 We conclude that money deposited in the court
as recognizance is not “registered” personal property under
§ 42-371.
   Section 42-371, contained within the statutory scheme gov-
erning divorce, alimony, and child support, establishes a lien
on certain property for child support. Specifically, § 42-371
provides:
        (1) All judgments and orders for payment of money
     shall be liens, as in other actions, upon real property and
     any personal property registered with any county office
     and may be enforced or collected by execution and the
     means authorized for collection of money judgments;
        ....
        (5) Support order judgments shall cease to be liens on
     real or registered personal property ten years from the
     date (a) the youngest child becomes of age or dies or
     (b) the most recent execution was issued to collect the
     judgment, whichever is later, and such lien shall not be
     reinstated;
        ....
        (9) Any lien authorized by this section against personal
     property registered with any county consisting of a motor
     vehicle or mobile home shall attach upon notation of the
     lien against the motor vehicle or mobile home certificate
     of title and shall have its priority established pursuant to
     the terms of section 60-164 or a subordination document
     executed under this section.

 5	
      See, Neb. Rev. Stat. § 25-1012.02 (Reissue 2016); Fox v. Whitbeck, 286
      Neb. 134, 835 N.W.2d 638 (2013); Anheuser-Busch Brewing Ass’n v. Hier,
      52 Neb. 424, 72 N.W. 588 (1897).
 6	
      See, Cattle Nat. Bank &amp; Trust Co. v. Watson, 293 Neb. 943, 880 N.W.2d
      906 (2016); Myers v. Nebraska Equal Opp. Comm., 255 Neb. 156, 582
      N.W.2d 362 (1998).
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                             STATE v. McCOLERY
                              Cite as 301 Neb. 516
   [2-6] The fundamental objective of statutory interpreta-
tion is to ascertain and carry out the Legislature’s intent.7
Statutory language is to be given its plain and ordinary mean-
ing, and an appellate court will not resort to interpretation to
ascertain the meaning of words which are plain, direct, and
unambiguous.8 A statute is ambiguous if it is susceptible of
more than one reasonable interpretation, meaning that a court
could reasonably interpret the statute either way.9 Furthermore,
it is impermissible to follow a literal reading that engenders
absurd consequences where there is an alternative interpreta-
tion that reasonably effects the statute’s purpose.10 A court
must attempt to give effect to all parts of a statute, and if it can
be avoided, no word, clause, or sentence will be rejected as
superfluous or meaningless.11 An appellate court can examine
an act’s legislative history if a statute is ambiguous or requires
interpretation.12
   [7] The Legislature did not provide through § 42-371 for a
lien on all personal property, tangible and intangible; instead,
it expressly limited the lien to “registered personal property.”
The terms “registered” and “registered personal property” are
not specifically defined in the statutes governing divorce,
alimony, and child support. Nor are these terms defined in
the various statutes governing execution13 and other means
of enforcement and collection of money judgments.14 Under
dictionary definitions, to “register” is defined variously as
to actively and formally enroll or record in a list, catalog, or

 7	
      State v. Thompson, 294 Neb. 197, 881 N.W.2d 609 (2016).
 8	
      Heiden v. Norris, 300 Neb. 171, 912 N.W.2d 758 (2018).
 9	
      Fisher v. PayFlex Systems USA, 285 Neb. 808, 829 N.W.2d 703 (2013).
10	
      Wisner v. Vandelay Investments, 300 Neb. 825, 916 N.W.2d 698 (2018).
11	
      Id.12	
      Farmers Co-op v. State, 296 Neb. 347, 893 N.W.2d 728 (2017).
13	
      Neb. Rev. Stat. §§ 25-1501 through 25-15,105 (Reissue 2016 &amp; Supp.
      2017).
14	
      See, e.g., Neb. Rev. Stat. §§ 25-1001 through 25-1056 (Reissue 2016).
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roll15; to enter into a public registry16; to record someone’s
name or ownership of property on an official list17; and to enter
or record in an official list as being in a particular category,
having a particular eligibility or entitlement, or in keeping with
a requirement.18 Inherent to these definitions is both a broad
and a narrow understanding of “registration.”
   The State adopts a broad meaning and argues that appear-
ance bonds are “registered,” because the clerk of the court
assigns an identification number to the funds and catalogs
them into a publicly available court record by the defendant’s
name, date of birth, and criminal case number. McArthur
adopts a narrower meaning and argues that registration under
§ 42-371 is cataloging property onto a formal registry with a
specific purpose that includes registration of liens upon the
property. We agree that the Legislature intended a narrower
meaning and that an appearance bond deposit is not registered
personal property under § 42-371.
   The process by which the clerk of the court keeps track
of appearance bonds is not specifically required by the bail
statutes.19 Instead, those statutes refer only to the “deposit” of
the recognizance.20 To “deposit” is “[t]he act of giving money
or other property to another who promises to preserve it or to
use it and return it in kind.”21 To preserve the money in a way
that it can be returned, the clerk of the court must necessar-
ily conduct some recordkeeping. Such acts of recordkeeping,

15	
      See, Black’s Law Dictionary 1473 (10th ed. 2014); “Register,” Merriam-
      Webster.com, https://www. merriam-webster.com/dictionary/register (last
      visited Oct. 26, 2018).
16	
      See Black’s Law Dictionary, supra note 15 at 1473.
17	
      “Register,” https://dictionary.cambridge.org/us/dictionary/english/register
      (last visited Oct. 26, 2018).
18	
      The New Oxford American Dictionary 1434 (2001).
19	
      See Neb. Rev. Stat. §§ 29-901 through 29-910 (Reissue 2016).
20	
      See §§ 29-901(1)(c)(i) and 29-904.
21	
      Black’s Law Dictionary, supra note 15 at 533.
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                              STATE v. McCOLERY
                               Cite as 301 Neb. 516
however, do not make the money “registered personal prop-
erty” subject to the statutory lien.
   [8-11] Judgment liens are creatures of statute.22 When a lien
comes into existence by force of a statute, it must be measured
by the statute, and can have no greater force than the statute
gives it.23 And statutes in derogation of common law are to
be strictly construed.24 Early execution procedures did not
extend to intangible assets.25 Money is intangible property;26 it
is not tied up in a fixed state.27 Thus, our execution statutes,28
to which § 42-371 explicitly refers, describe only “goods and
chattels” as personal property subject to execution.29 Money is
neither a good nor a chattel.30 In fact, “personal property” is
susceptible of more than one meaning; while personal property
has a broader meaning of everything that is the subject of own-
ership except lands and interests in lands,31 it was traditionally
understood in the more restricted sense embracing only tan-
gible goods and chattels.32
   It would be unusual to conclude that the Legislature
intended § 42-371 to create a lien that could not be executed

22	
      See, Grosvenor v. Grosvenor, 206 Neb. 395, 293 N.W.2d 96 (1980); Freis
      v. Harvey, 5 Neb. App. 679, 563 N.W.2d 363 (1997).
23	
      County Board of Platte County v. Breese, 171 Neb. 37, 105 N.W.2d 478      (1960).
24	
      See id.25	
      William J. Woodward, Jr., New Judgment Liens on Personal Property:
      Does “Efficient” Mean “Better”?, 27 Harv. J. on Legis. 1 (1990).
26	
      Weiss v. McFadden, 353 Ark. 868, 120 S.W.3d 545 (2003).
27	
      See McCulloch v. McCulloch, 232 Ark. 413, 337 S.W.2d 870 (1960).
28	
      See §§ 25-1501 through 25-15,105.
29	
      See §§ 25-1503, 25-1504, 25-1516(1), 25-1518, and 25-1521 and 2018
      Neb. Laws, L.B. 193, §§ 24 and 26 (effective July 19, 2018).
30	
      See, Neb. Rev. Stat. § 45-335 (Supp. 2017); Neb. U.C.C § 2A-103
      (Reissue 2001); Black’s Law Dictionary, supra note 15 at 286 and 808-09.
31	
      See id.
32	
      In re Estate of Chadwick, 247 Iowa 1050, 78 N.W.2d 31 (1956).
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upon, on an intangible that was not traditionally understood as
even being “personal property.” And it is clear from the leg-
islative history that the Legislature did not in fact envision a
registration system for money, appearance bond or otherwise,
when it added the “registered personal property” language to
the statute.
   The reference to registered personal property was added
in 1985 by L.B. 733 in response to the federal Child Support
Enforcement Amendments of 1984,34 which required states to,
among other things, adopt “‘[p]rocedures under which liens
are imposed against real and personal property for amounts
of overdue support owed by an absent parent who resides or
owns property in the State.’” While much of the legislative
history concerned other matters, several senators indicated that
“registered personal property” was to be understood in a nar-
rower sense. For instance, it was discussed that grain required
to be documented with the local courthouse was not “registered
personal property” and that Uniform Commercial Code filings
would not be considered “registered” for purposes of § 42-371,
because they were instead “filed.”35
   In fact, it appears that the only registered personal prop-
erty specifically contemplated at the time of L.B. 7 were
motor vehicles and mobile homes, which are addressed in
§ 42-371(9). This operates in conjunction with provisions of
the Motor Vehicle Registration Act.36 Section 60-164 of the
Motor Vehicle Certificate of Title Act37 establishes an electronic

33	
      1985 Neb. Laws, L.B. 7, § 19.
34	
      Pub. L. No. 98-378, § 3, 98 Stat. 1305.
35	
      Floor Debate, L.B. 7, 89th Leg., 2d Spec. Sess. 881 (Nov. 12, 1985). See
      Judiciary Committee Hearing, L.B. 7, 89th Leg., 2d Spec. Sess. 32 (Oct.
      24, 1985).
36	
      Neb. Rev. Stat. §§ 60-301 through 60-3,222 (Reissue 2010, Cum. Supp.
      2016 &amp; Supp. 2017).
37	
      Neb. Rev. Stat. §§ 60-101 through 60-197 (Reissue 2010, Cum. Supp.
      2016 &amp; Supp. 2017).
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title and lien system for various vehicles, to be maintained by
the county treasurer and continuously updated. Liens recorded
under this system are generally given priority in accordance
with the order of time in which they are noted by the county
treasurer or Department of Motor Vehicles.38 This system has
little in common with the recordkeeping of the clerk of the
court for appearance bond deposits.
    Although providing redress for unpaid child support
addresses very important public policy concerns, the attach-
ment of a judgment lien to money deposited with the clerk of
the court has other public policy implications as well. It is not
the role of this court to weigh such public policy matters,39
and these public policy questions were not weighed by the
Legislature when it enacted L.B. 7. Further, we have not been
asked to review whether other child support collection rem-
edies are available to reach a child support debtor’s appearance
bond. Our decision is confined to the application of § 42-371
to the garnishment action here presented.
    [12] Several other jurisdictions’ statutory schemes that allow
child support liens to attach to money, in bank accounts or
elsewhere, do so explicitly.40 Our Legislature could have simi-
larly so provided. But, instead, it limited the lien to “registered
personal property.” While “registered personal property” may
be susceptible to more than one meaning, viewing § 42-371 in
pari materia with related statutes and looking at its Legislative
history, we must understand “registered” in its narrower sense.
We hold that under the current statutory scheme for bail,41

38	
      See § 60-164(3).
39	
      See Myers v. Nebraska Invest. Council, 272 Neb. 669, 724 N.W.2d 776      (2006).
40	
      See, e.g., Haw. Rev. Stat. § 576D-10.5 (2006); 305 Ill. Comp. Stat. Ann.
      5/10-25.5 (LexisNexis 1999); Mass. Gen. Laws Ann., ch. 119A, §§ 6(b)(1)
      and (5) (West 2017); 23 Pa. Stat. and Cons. Stat. Ann. § 4308.1 (West
      2018); Tex. Fam. Code Ann. § 157.317 (West 2014).
41	
      See §§ 29-901 through 29-910.
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money deposited as recognizance with the clerk of the court
is not personal property registered with a county office under
§ 42-371.
   Children’s needs call for effective and efficient enforce-
ment of child support obligations. This can easily occur where
those seeking the enforcement of child support obligations
diligently check bail records against child support judgments,
and take prompt action. If a criminal case defendant has
posted bond money which is not subject to an assignment or
its equivalent to another, a routine garnishment can capture
the funds upon release.
   [13,14] If the Legislature believes that we have not cor-
rectly ascertained its intent, then it is free to amend § 42-371
accordingly. With respect to questions about a statute, our
role is limited to interpretation and application of statutes,
irrespective of our personal agreement or disagreement with a
particular legislative enactment, so long as a questioned stat-
ute does not violate a constitutional requirement.42 Whether
a court considers particular legislation as wise or unwise
is irrelevant to the judicial task of construing or applying
a statute.43

                       CONCLUSION
  Because the bond deposit was not “registered personal
property,” we reverse the judgment of the district court and
remand the cause with directions to vacate the order of
garnishment.
                   R eversed and remanded with directions.

42	
      Else v. Else, 219 Neb. 878, 367 N.W.2d 701 (1985).
43	
      Id.
   Cassel, J., concurring.
   I write separately to highlight that other language of the
existing statute supports this court’s decision. The parties
attributed no significance to the statutory phrase “as in other
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actions,”1 but basic principles of statutory construction dictate
otherwise. A court must attempt to give effect to all parts of a
statute, and if it can be avoided, no word, clause, or sentence
will be rejected as superfluous or meaningless.2 The whole and
every part of a statute must be considered in fixing the mean-
ing of any of its parts.3
   The controlling subsection states: “All judgments and orders
for payment of money shall be liens, as in other actions, upon
real property and any personal property registered with any
county office and may be enforced or collected by execution
and the means authorized for collection of money judgments.”4
In answering the question posed by this appeal, the meaning
of “as in other actions” is just as significant as any other word
or phrase. And this phrase directs attention both to other stat-
utes and to preexisting case law.
   Prior to a 1985 amendment made in response to a federal
mandate, § 42‑371(1) stated, in pertinent part: “All judgments
and orders for payment of money under sections 42‑347 to
42‑379 shall be liens upon property as in other actions and may
be enforced or collected by execution and the means autho-
rized for collection of money judgments.”5 The Legislature
fully comprehended the effect of these words.
   The general statute governing the effect of a judgment lien
has not changed since long before the 1943 recodification.6
It was well understood that a judgment became a lien upon a
debtor’s lands and tenements within the county on the day the
judgment was rendered.7 This flows from the language of the
general statute, which states:

 1	
      Neb. Rev. Stat. § 42‑371(1) (Reissue 2016).
 2	
      Heiden v. Norris, 300 Neb. 171, 912 N.W.2d 758 (2018).
 3	
      Id. 4	
      § 42‑371(1) (emphasis supplied).
 5	
      § 42‑371(1) (Reissue 1984) (emphasis supplied).
 6	
      See Neb. Rev. Stat. § 25‑1504 (Reissue 2016).
 7	
      See State Bank v. Carson, 4 Neb. 498 (1876).
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         The lands and tenements of the debtor within the
      county where the judgment is entered, shall be bound for
      the satisfaction thereof only from the day on which such
      judgments are rendered. All other lands, as well as goods
      and chattels of the debtor, shall be bound from the time
      they shall be seized in execution; Provided, that a judg-
      ment shall be considered as rendered when such judgment
      has been entered on the judgment record.8
   It was equally well understood that money judgments did
not become a lien upon personal property until it was “seized
in execution.”9 This court required only a bare statutory cita-
tion to declare that a plaintiff had no lien against funds being
held by a court merely because of a money judgment against
the defendant.10
   Before the 1985 amendment to § 42‑371, this court recog-
nized that the “lien of a judgment for child support . . . consti-
tutes a lien the same as other monetary judgments.”11 As early
as 1894, the court recognized that judgments for alimony were
“made liens upon property the same as judgments in actions
at law, and their collection is enforceable in the same manner
as other judgments.”12
   It was in the light of this history that the Legislature com-
plied with the federal mandate to enforce child support against
personal property. The legislative history this court cites artic-
ulated that understanding.
   The parties have not cited nor have I found any other
statute applying a judgment lien to personal property before

 8	
      § 25‑1504.
 9	
      Credit Bureau of Broken Bow, Inc. v. Moninger, 204 Neb. 679, 284
      N.W.2d 855 (1979).
10	
      See Ceres Fertilizer, Inc. v. Beekman, 209 Neb. 447, 308 N.W.2d 347      (1981).
11	
      Action Realty Co., Inc. v. Miller, 191 Neb. 381, 385, 215 N.W.2d 629, 632      (1974).
12	
      Nygren v. Nygren, 42 Neb. 408, 411, 60 N.W. 885, 886 (1894).
                                   - 530 -
               Nebraska Supreme Court A dvance Sheets
                       301 Nebraska R eports
                            STATE v. McCOLERY
                             Cite as 301 Neb. 516
levy of execution or garnishment. When the Legislature
added the provision for a child support judgment lien against
“any personal property registered with any county office,”13
it did so understanding that in other actions, no judgment
lien attached to personal property until levy of execution or
garnishment.
   The 1985 amendment made perfect sense regarding motor
vehicles or mobile homes, which have certificates of title. And
even in those two instances, the statute does not impose a lien
automatically, as the State asserts occurred here against the
bail deposit. Instead, a child support judgment lien attaches
to motor vehicles or mobile homes “upon notation of the
lien against the .&nbsp;.&nbsp;. certificate of title.”14 And by reference to
another statute, the child support lien statute dictates that such
liens on motor vehicles or mobile homes “take priority accord-
ing to the order of time in which the same are noted by the
county treasurer or department.”15 This follows the first‑in‑time
principle of judgment liens attaching to real estate.16
   As this court’s opinion recognizes, child support obligations
can be collected from bail deposits under existing law. The
1985 Legislature acted carefully and deliberately in striking
a balance by allowing enforcement of judgments against bail
deposits by execution or garnishment having priority as of the
date of levy.

13	
      § 42‑371(1) (Reissue 2016).
14	
      § 42‑371(9).
15	
      See Neb. Rev. Stat. § 60‑164(3) (Supp. 2017).
16	
      See Pontiac Improvement Co. v. Leisy, 144 Neb. 705, 14 N.W.2d 384      (1944).
